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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

   CELLULAR COMMUNICATIONS
   EQUIPMENT LLC,

                  Plaintiff,
                                                       Civil Action No. 2:17-cv-00078-RWS-RSP
   v.                                                  (Consolidated Lead)
                                                       JURY TRIAL DEMANDED
   HTC CORPORATION, ET AL.,

                  Defendants.

                                 JOINT MOTION TO LIFT STAY

         Plaintiff Cellular Communications Equipment LLC (“CCE”) and Defendants HTC

  Corporation, HTC America, Inc., ZTE Corporation, ZTE Solutions, Inc., and ZTE (USA) Inc.,

  (collectively, “Defendants” and together with CCE, the “Parties”) jointly move to lift the stay with

  respect to the claims and issues relating to U.S. Patent No. 8,457,676 (the “’676 Patent”). On

  October 20, 2017, the Court stayed all claims relating to the ’676 Patent pending several IPRs (the

  “’676 IPRs”). (Dkt. Nos. 93, 94, the “Orders”). On February 12, 2018, the PTAB issued final

  written decisions regarding the ’676 IPRs, some of the asserted claims remain, and there are no

  pending appeals. As such, the Parties wish to lift the stay and proceed with the case with respect

  to the claims and issues relating to the ’676 Patent. This motion does not seek to lift the stay with

  respect to the claims and issues relating to U.S. Patent No. 8,570,957.



  Dated: April 25, 2018                                  Respectfully submitted,


   By: /s/ Jonathan H. Rastegar                        By: /s/ Nicole S. Cunningham
   Jeffrey R. Bragalone (lead attorney)                Callie A. Bjurstrom (CA SBN 137816)


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   ATTORNEYS FOR PLAINTIFF
   CELLULAR COMMUNICATIONS
   EQUIPMENT LLC


                              CERTIFICATE OF CONFERENCE


          Counsel for Plaintiff and counsel for Defendants met and conferred by telephone and email
  to discuss the issues raised in this motion. This motion is unopposed and joined by the Parties.

                                                      By: /s/ Jonathan H. Rastegar
                                                         Jonathan H. Rastegar




                                 CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing document was filed
  electronically in compliance with Local Rule CV-5 on April 25, 2018. As of this date all counsel
  of record have consented to electronic service and are being served with a copy of this document
  through the Court’s CM/ECF system under Local Rule CV-5(a)(3)(A).



                                                      By: /s/ Jonathan H. Rastegar
                                                         Jonathan H. Rastegar




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